AO 2458 (Rev. 11/16)   Judgment in a Criminal Case
                       Sheet I



                                          UNITED STATES DISTRICT COURT
                                                       District of Massachusetts
                                                                          )
             UNITED STATES OF AMERICA                                             JUDGMENT IN A CRIMINAL CASE
                                                                          )
                                  v.                                      )
                              LUIS ARIAS                                  )
                                                                                   Case Number:       1: 19 CR 10288             - 1       - IT
                                                                          )
                                                                          )        USM Number: 01494-138.
                                                                          )
                                                                                    Joan Maffeo Fund
                                                                          )
                                                                                   Defendant's Attorney
                                                                          )
THE DEFENDANT:
1;21 pleaded guilty to count(s)        1, 2, 3

Dpleaded nolo contendere to count(s)
 which was accepted by the court.
 Dwas found guilty on count(s)
  after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

 Title & Section                 Nature of Offense                                                            Offense Ended
21 USC§84l(a)( l )            Distribution of and Possession with Intent t o Distribute Fentanyl                02/22/19
21 USC§84l (b)( l )(C)
21 USC§84l (a)( l )            Possession with Intent to Distribute Fentanyl                                    04/11/19          2
2 1 U.C§841(b)( l )(C)
18 USC.§922(g)(5)(A)          Alien in Possession of a Fireann                                                  04/11/19          3

       The defendant is sentenced as provided in pages 2 through         __7__ of this judgment . The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
DThe defendant has been found not guilty on count(s)
DCount(s)                                               D is      Dare dismissed on the motion of the United States.

         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defendant must notify the court and United States attorney of material changes in economic circumstances.
                                                                          3/12/2020
                                                                         Date of Imposition of Judgment



                                                                                                          ;
                                                                         Sigltaturc of Judge

                                                                                   Indira Talwani,
                                                                                   U.S. District Judge
                                                                         Name and Title of Judge


                                                                          3/13/2020
                                                                         Date
